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                                                           Mcdkare+Choice Organization

                                                   Electronic Data Interchange Enrollment Form

                           MANAGED CARE ELECTRONIC DATA INTERCHANGE (EDI) ENROLLMENT FORM

                                                ONLY for the Collection of Risk Adjustment Data and/or

                                                     With Medicare+Choice Eligible Organizations

          The eligible organization agrees to the following provisions for submitting Medicare risk adjustment data electronically
                             to The Centers for Medicare & Medicaid Services (CMS) or to CMS's contractors.

                A.    A.     The Eligible Organization Agrees:

                             I.    I.    That it will be responsible for all Medicare risk adjustment data submitted to CMS by itself,
                                   its employees, or its agents.

                            2.    2. That it will not disclose any information concerning a Medicare beneficiary to any other
                                  person or organization, except CMS and/or its contractors, without the express written permission
                                  of the Medicare beneficiary or his/her parent or legal guardian, or where required for the care and
                                  treatment of a beneficiary who is unable to provide written consent, or to bill insurance primary or
                                  supplementary to Medicare, or as required by State or Federal law.

                            3.     3. That it will ensure that every electronic entry can be readily associated and identified with an
                                   original source document. Each source document must reflect the following information:
                                                                               •    •     Beneficiary's name,
                                                                               •    •     Beneficiary's health insurance claim
                                                                                    number,
                                                                               •    •     Date(s) of service,
                                                                               •    •     Diagnosis/nature of illness



                            4.    4. That the Secretary of Health and Human Services or his/her designee and/or the contr.ictor
                                  has the right to audit and confirm information submitted by the eligible organization and shall have
                                  access to all original source documents and medical records related to the eligible organization's
                                  submissions. including the beneficiary's authorization and signature.

                            5.    5.    Based on best knowledge, information, and belief, that it will submit risk adjustment data that
                                  arc accurate, complete, and truthful.

                            6.    6. That it will retain all original source documentation and medical records penaining to any
                                  such panicular Medicare risk adjustment data for a period of at least 6 years, 3 months after the risk
                                  adjustment data is received and processed.

                            7.    7. That it will affix the CMS-assigned unique identifier number of the eligible organization on
                                  each risk adjustment data electronically transmitted to the contractor.

                            8.    8. That the CMS-assigned unique identifier number constitutes the eligible organization's legal
                                  electronic signature.

                            9.    9. That it will use sufficient security procedures to ensure that all transmissions of documents
                                  are authorized and protect all beneficiary-specific data from improper access.




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                   10. 10. That it will establish and maintain procedures and controls so that information concerning
                       Medicare beneficiaries, or any information obtained from CMS or its contractor, shall not be used
                       by agents, officers, or employees of the billing service eitcept as provided by the contractor (in
                       accordance with §I I06(a) of the Act).

                   11 . 11. That it will research and correct risk adjustment data discrepancies.

                   12. 12. That it will notify the contractor or CMS within 2 business days if any transmitted data arc
                       received in an unintelligible or garbled form.

         B.   B.    The Centers ror Medicare & Medicaid Service." Agrees To:

                              1.    I. Transmit to the eligible organization an acknowledgment of risk adjustment data
                                    receipt.

                              2.    2. Afliit the intermediary/carrier number, as its electronic signature, on each
                                    response/report sent to the eligible organization.

                              3.    3.     Ensure that no contractor may require the eligible organization to purchase :my or
                                    all electronic services from the contractor or from any subsidiary of the contractor or
                                    from any company for which the contractor has an interest.

                             4.    4. The contractor will make alternative means available to any electronic biller to
                                   obtain such services.

                              5.    5. Ensure that all Medicare electronic transmitters have equal access to any services
                                    that CMS requires Medicare contractors to mllke available to eligible organizations or
                                    their billing services. regardless of the electronic billing technique or service they choose.
                                    Equal access will be granted to any services the contractor sells directly, indirectly. or by
                                    arrangement.

                              6.    6. Notify the provider within 2 business days if any transmitted data arc received in an
                                    unintelligible or garbled form.


              NOTICE:
              Federal law shall govern both the interpretation of this document and the appropriate jurisdiction and venue
              for appealing any final decision made by CMS under this document.

              This document shall become effective when signed by the eligible organization. The responsibilities and
              obligations contained in this document will remain in effect as long as Medicare risk adjustment data arc
              submitted to CMS or the contractor. Either party may terminate this arrangement by giving the other party
              (30) days written notice of its intent to terminate. In the event that the notice is mailed, the written notice of
              termination shall be deemed to have been given upon the date of mailing, as established by the postmark or
              other appropriate evidence of transmittal.


        C.    C.   Signature:

    I am authorized to sign this document on behalf of the indicated party and I have read and agree to the foregoing
    provisions and acknowledge same by signing below.

    Eligible Organization's Name:       Ovations. United Health Group




    Name: _______James Higgins, _ _ _ _ _ _ _ _ _ _ __




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       Title:                    Director


       Address:_ _ _ _ _ _ 3100 LAKE CENTER




       City/State/ZIP: ---..::S~a~n.:::ta:....:A-"n..,a.._._,.C=A _ ...9-=2..,
                                                                           7Q4.._.__________


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       cc: Regional Offices



                                              Please retain a copy of all forms submitted for your records.

                                                 Complete and mail this form with original signature to:

                                                                    M+CO EDI Enrollment
                                                                   CSSC Operations AG-570
                                                                       P.O. Box 100275
                                                                   Columbia, SC 29202-3275

                                                                      Phone (877) 534-2772
                                                                    www.t:.<;scoocrations.mm




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